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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR257
                                              )
              Plaintiff,                      )
                                              )                  AMENDED
              vs.                             )              TENTATIVE FINDINGS
                                              )
AMANDA NIELSON,                               )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

parties’ objections thereto (Filing Nos. 70, 71). See "Order on Sentencing Schedule," ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The parties have objected to the quantity of controlled substance attributable to the

Defendant in ¶ 17 and the base offense level calculated as level 32. The plea agreement

reached pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) requires a base

offense level of 26 based on a quantity of at least 50 but less than 200 grams of a mixture

or substance containing a detectable amount of methamphetamine. The Court’s tentative

findings are that, absent unusual circumstances, the Rule 11(c)(1)(C) plea agreement

should be upheld and the base offense level should be calculated as level 26. The matter

will be discussed further at sentencing.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the parties’ objections (Filing Nos. 70

and 71) to the PSR are granted;
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       2.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 7th day of February, 2006.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge




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